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AO 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                  Judgment""": Page   ,. 5   of     5
DEFENDANT: CARLOS GARCIA-MORALES                          <')
CASE NUMBER: llCR3937-BEN
                                                                    FINE

      The defendant shall pay a fine in the amount of____$_60_0_.0_0_ ___u,nto the United States of America.




          This sum shall be paid __ immediately.
                                  K as follows:


           Forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than $25.00 per
           quarter during the period of incarceration.




          The Court has determined that the defendant _do_e_s_ _ have the ability to pay interest. It is ordered that:

   ~ The interest requirement is waived.


           The interest is modified as follows:




                                                                                                 llCR3937-BEN
